         Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 1 of 10




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DAMIEN C. HICKS-BAILEY,

                                 Petitioner,
            v.                                               DECISION AND ORDER
                                                                 19-CV-1177-A
                                                                 16-CR-40-A
UNITED STATES OF AMERICA,

                                 Respondent.



          Before this Court are four motions filed by Petitioner Damien C. Hicks-Bailey.

See, Dkt. #73, #81, #83, and #85.1 For the reasons which follow, Hicks-Bailey’s

motions are denied.

    I.       Background

          On April 12, 2016, a federal grand jury returned a two-count indictment

charging Hicks-Bailey with: unlawful distribution of heroin, in violation of Title 21,

United States Code, Section 841(a)(1); and use of a communication facility to facilitate

a controlled substance offense, in violation of Title 21, United States Code, Section

843(b).

          On May 3, 2017, Hicks-Bailey appeared before this Court with his attorney and

entered into a written plea agreement with the government, pleading guilty to unlawful


1
 References herein, unless otherwise indicated, are to documents filed on this Court’s
Docket in case 16-CR-40-A. Petitioner’s primary motion is a pro se Motion to Vacate,
Set Aside, or Correct the Sentence Under 28 U.S.C. § 2255 (“§ 2255 Motion”). See,
Dkt. #73. The three other motions, each related to the § 2255 Motion, are a motion to
appoint counsel (Dkt. #81) and two motions for an evidentiary hearing (Dkt. #83 and
#85).

                                               1
     Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 2 of 10




distribution of heroin, in violation of Title 21, United States Code, Section 841(a)(1).

See, Dkt. #36. The plea agreement anticipated a total offense level of 10 and a

criminal history category of IV, resulting in a guideline range of 15-21 months.

However, as part of the plea agreement, the government reserved the right to argue

for an upward adjustment under the Sentencing Guidelines, pursuant to §5K2.1 (death

policy statement) and/or §5K2.2 (physical injury policy statement). The Court made

specific inquiries of the defendant at the time of his plea to ensure that he understood

that the government would be seeking an adjustment that could be as high as the

statutory maximum of twenty years., a prisoner in federal custody. See, Dkt. #77.

      Following the guilty plea, on September 13, 2017, a Fatico hearing was held.

See, Dkt. #46. On November 2, 2017, Hicks-Bailey was sentenced. This Court

determined that an upward departure was warranted on the ground that Hicks-Bailey’s

offense conduct resulted in death. See, Dkt. #64, pp. 4-12. The Court imposed a term

of imprisonment of 96 months and the statutory minimum term of supervised release

of 3 years. See, Dkt. #57, ¶63; Dkt. #59.

      Hicks-Bailey appealed, and on October 29, 2018, the Second Circuit issued a

summary order affirming Hicks-Bailey conviction and sentence. See, Dkt. #71.

      Thereafter, on May 28, 2019, Hick-Bailey filed the pending § 2255 Motion. See,

Dkt. #73.




                                            2
     Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 3 of 10




   II.      Analysis

            a. Involuntary and Unknowing Plea

         Hicks-Bailey first claims in conclusory fashion that his guilty plea, to a one-

count information charging him with possessing with intent to distribute and

distributing heroin, in violation of Title 21, United States Code, Section 841, was

involuntary. In that regard, he asserts: “Counsel ill-advised Petitioner to accept the

plea agreement. Had petitioner known he could have asked the court for funds to

hire experts such as a forensic pathologist, he would not have accepted the plea

offer. Further, had Petitioner been informed of the amount of time he was facing on

the upward adjustment; he would not have pled guilty. Counsel advised Petitioner

that the government did not have enough evidence to get the upward adjustment

applied. Had petitioner not been ill-advised he would not have pleaded guilty.” Dkt. #

73, p. 4.

         Hicks-Bailey’s arguments run counter to his sworn testimony at the change of

plea hearing. At that hearing, the following exchange took place:

         THE COURT: It’s also very important, sir, that you understand what
         your rights are. If at any time during the course of these proceeding,
         there’s something you do not understand, you want to ask me a
         question, you want to consult with Mr. Cantwell, you’re free to do so.
         You’re encouraged to do so. It’s not important that we get this over with
         as quickly as possible. What’s important is that I’m satisfied that you
         fully understand what your rights are. Do you understand that, sir?
         PETITIONER: Yes, sir.
         THE COURT: Now, sir, you represented to me that you’re here to waive
         certain rights and to plead guilty to Count 1 under the terms and
         conditions of the plea agreement. Do you understand this charge?

                                              3
    Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 4 of 10




      PETITIONER: Yes, sir.
      THE COURT: Mr. Cantwell, you’ve gone over Count 1 with your client.
      It’s pretty straightforward. Are you satisfied he understands it?
      MR. CANTWELL: Yes, Your Honor.
      THE COURT: Any reason for me to go through any further explanation?
      MR. CANTWELL: No, Your Honor.
      THE COURT: And you reviewed with him the terms and conditions of
      the plea agreement?
      MR. CANTWELL: I have.
      THE COURT: And his rights under Rule 11, right to a trial, etcetera?
      MR. CANTWELL: I have, Your Honor.
      THE COURT: And sir, you discussed this whole matter with Mr.
      Cantwell. He’s explained to you what your legal rights are, what your
      legal options are. You probably didn’t like to hear what he had to tell
      you, but he’s not there to make you feel good. He’s there to be your
      legal counsel. And apparently, based on those discussions, you’re here
      today to waive certain rights and to plead guilty to this charge under the
      terms and conditions of the plea agreement. Are you fully satisfied with
      the advice and counsel you received from Mr. Cantwell?
      PETITIONER: Yes, sir.
      THE COURT: No complaints?
      PETITIONER: (The defendant shook his head.)
Dkt. #77, pp. 3-5. The colloquy continued:
      AUSA: It’s the position of the government that the defendant is pleading
      as charged to the sole count of the indictment, taking responsibility for
      distributing heroin. However, it’s also the government’s contention that
      at sentencing, the Court should consider that the heroin that was
      distributed caused or assisting in causing the death of the victim. And
      while that’s not contemplated in the guidelines, there is a policy section
      5K2.1 and 5K2.2 that allows the Court to consider it and to determine if
      the Court thinks it’s appropriate and it applies to an upward modification
      to appropriately find a sentence that fits with the particular crime. The
      defendant will - -
      THE COURT: What’s your position on this?
                                          4
Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 5 of 10




 AUSA: My position, Judge, is that the defendant distributed a dose of
 heroin and the victim thereafter injected himself and he died.
 THE COURT: Is there a medical report on this?
 AUSA: There is, Your Honor.
 THE COURT: What does it say?
 AUSA: It says that the victim died from a combination or polydrug use.
 It was a combination of five different drugs, including butyrl fentanyl and
 some other drugs that are more therapeutic in nature, including Zoloft
 and some antidepressant drugs, but it was the combination of those
 drugs that caused the victim’s death. The government’s contention will
 be at sentencing, Your Honor, that the defendant’s conduct here played
 a role in the demise of the victim and therefore, the guidelines don’t
 adequately account for that, being that his sentencing range would be
 between 15 and 21 months. So, we are going to file with the Court a
 lengthy memorandum and urge the Court to make an upward
 modification at the time of sentencing. It’s my understanding that the
 defendant will oppose that and will ask the Court to sentence him in
 accordance with the guideline. But, ultimately, the parties agree that
 that’s the only issue of dispute and that’s why this doesn’t need to be a
 trial. It’s a sentencing issue that needs to be decided by the Court.
 THE COURT: So, we’re talking about a hearing?
 AUSA: Yes, Your Honor.
 THE COURT: Talking about taking of evidence?
 AUSA: I believe it will require some fact-finding by the Court that would
 require an evidentiary hearing.
 THE COURT: And what - - the sentence could be up to 20 years if I
 were to make this finding, I assume?
 MR. FELICETTA: The Court is - - yes, Your Honor. The Court is free to
 make any sentencing finding it would like up to maximum penalty as
 set forth in paragraph 1.
 THE COURT: Mr. Cantwell, you explained all that to your client?
 MR. CANTWELL: I did, Your Honor.
 THE COURT: He understands that?
 MR. CANTWELL: He does.

                                     5
     Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 6 of 10




       THE COURT: Do you understand that, sir?
       PETITIONER: Yes, sir.
Id., pp. 14-16. The prosecutor and Court then further discussed the

government’s position and, again, the importance of Paragraph 1 in the plea.

Id., at 17.

       MR. CANTWELL: The defendant understands that the government has
       reserved the right to petition the Court for a sentence outside the
       guidelines.
       THE COURT: Okay. Do you understand that, sir?
       PETITIONER: Yes, sir.
       THE COURT: I could put you in jail for 20 years. Do you understand
       that?
       PETITIONER: Yes, sir. Id., at 17-18.
       THE COURT: Now, sir, we've gone over the agreement in court. You
       indicated you understand it. You signed it indicating you understand it.
       Your attorney says that he’s gone over it with you. He’s satisfied you
       understand it. Any questions, sir?
       PETITIONER: No, sir.
       THE COURT: Are these all the terms and conditions of the plea
       agreement which we just read here in court?
       PETITIONER: Yes, sir.
       THE COURT: No one has made any other promises to you, have they?
       PETITIONER: (The defendant shook his head.) Id., at 21.
       THE COURT: Now, sir, is anyone forcing you to plead guilty?
       PETITIONER: No, sir.
       THE COURT: Anyone threaten you in any way?
       PETTIONER: No, sir.
       THE COURT: Your willingness to plead guilty, you discussed it with
       your attorney. He discussed it with the government’s attorney. Based


                                           6
     Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 7 of 10




      on those discussions, this plea agreement was prepared and that’s
      basically how this all came about, true?
      PETITIONER: Yes, sir.
      THE COURT: Now, do you understand, the offense which you are
      pleading guilty to is a serious offense? If it’s accepted by the Court,
      you’ll be found guilty and there will be no appeal, except as set forth in
      the plea agreement. If I were to go higher - - and that could be a
      serious factor here - - you can appeal the decision of the Court on the
      grounds that whatever the sentence I would give above the guideline
      range - - and your position is that it’s unreasonable. That would be the
      sentencing standard. I think that would be the appeal standard. Is that
      pretty accurate? I think that’s what it would be. Do you understand all
      that, sir?
      PETITIONER: I understand completely. Id., at 23-24.
      …
      THE COURT: You’re doing this voluntarily, of your own free will, no one
      is forcing you to do this, you understand all the possible
      consequences?
      PETITIONER: Absolutely. Id., at 27.


      Statements at a plea allocution “carry a strong presumption of verity.”

Blackledge v. Allison, 431 U.S. 63, 74 (1977). “[U]nsupported allegations which

merely contradict [a defendant's] earlier statements made under oath at his plea

allocution” do not provide sufficient grounds for withdrawal of a guilty plea as

involuntary. United States v. Gonzalez, 970 F.2d 1095, 1100–01 (2d Cir.1992); see

also United States v. Torres, 129 F.3d 710, 715 (2d Cir.1997) (“A defendant's bald

statements that simply contradict what he said at his plea allocution are not sufficient

grounds to withdraw [a] guilty plea.”).




                                           7
     Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 8 of 10




      Here, Hicks-Bailey’s claims that he did not know his rights nor the amount of

time he could receive at sentencing are in direct contradiction to his statements at

the change of plea proceeding. Given Hicks-Bailey’s statements under oath at that

change of plea proceeding, and the presumption that those statements were true,

his current claims are simply not credible, and his request for habeas corpus relief

based upon an unknowing and involuntary plea is DENIED.

          b. Ineffective Assistance of Counsel
      Hicks-Bailey next argues that his attorney was ineffective in failing “sufficiently

[to] oppose to the Government's argument in applying 21 U.S.C . 841(b)(l)(c) upward

adjustment sentencing enhancement under §5K2.1 (Death Policy Statement) and

5K2.2(Serious bodily injury statement)…”. Dkt. #73, p. 5.

      This argument, which exclusively challenges the length of the term of

imprisonment imposed by the Court has been rendered moot by Hicks-Bailey’s

release from custody. Since the Court imposed the statutory minimum term of

supervised release of 3 years, even if his claim could be interpreted as challenging

his term of supervised release, such claim is now moot. See, Gomez-Vargas v.

United States, No. 07 CIV. 1864 HB, 2009 WL 1024241, at *3 (S.D.N.Y. Apr. 15,

2009)(“even if the instant petition were to be interpreted to challenge the length of

Petitioner's supervised release in addition to imprisonment, that challenge likewise is

moot. Petitioner was sentenced to the statutory minimum of two years of supervised

release based on his conviction…; thus, even if the Court were to re-sentence

Petitioner, it would be unable to impose a lesser term of supervised release than that


                                           8
       Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 9 of 10




already imposed); see also, United States v. Williams, 475 F.3d 468, 479 (2d Cir.

2007) (finding that petitioner's appeal was rendered moot upon his release because

even if the case were remanded, there was no possibility that the district court could

impose a reduced term of supervised release, as he had initially been sentenced to

the statutory minimum supervised release).

III.    Conclusion

        For the reasons set forth above, Hicks-Bailey’s motion to vacate, set aside, or

correct his sentence (Dkt. #73) is DENIED.         Further, pursuant to 28 U.S.C. §

2253(c)(1) and Rule 11(a) of the Rules Governing Section 2255 Proceedings, the

Court declines to issue a certificate of appealability because Hicks-Bailey has not

made a substantial showing of the denial of a constitutional right. Finally, the Court

certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal taken from this decision

would not be taken in good faith. Thus, leave to appeal in forma pauperis is denied.

Hicks-Bailey is advised that “Federal Rule of Appellate Procedure 4(a) governs the

time to appeal,” and “[a] timely notice of appeal must be filed even” though the Court

declined to issue a certificate of appealability. Rule 11(b) of the Rules Governing

Section 2255 Proceedings. In view of this Court’s denial of the § 2255 motion (Dkt.

#73), Hicks-Bailey’s remaining related motions—including his motions to appoint

counsel (Dkt. #81) and for an evidentiary hearing (Dkt. #83; Dkt. #85) are further

DENIED as moot.




                                           9
    Case 1:16-cr-00040-RJA-MJR Document 110 Filed 08/28/24 Page 10 of 10




      IT IS SO ORDERED.


                                    s/Richard J. Arcara
                                   HONORABLE RICHARD J. ARCARA
                                   SENIOR U.S. DISTRICT JUDGE


Dated: August 27, 2024
       Buffalo, New York.




                                     10
